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                          EXHIBIT 1
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                                     CONFIDENTIAL SETTLEMENT AGREEMENT
                                       AND GENERAL RELEASE OF ALL CLAIMS


                              This Confidential Agreement and General Release of All Claims ("Settlement
                       Agreement") is entered into by and between Rebecca Anspach, Marissa Duran,
                       Akilah Hammond, Kimberly Ann Hoyer, Mandy Johnson, Shanon Nuckols,
                       Vanessa Ruiz, Andjela Suka, Nell Vasquez, Marlene Silva, Mikayla Bellamy,
                       Chelsee Lloyd, and any other Plaintiff opt-ins in the litigation entitled Harris vs. 68-
                       444 Perez, Inc. dba Showgirls (5:19-cv-02184) and Silva et al vs. 68-444 Perez, Inc.
                       dba Showgirls (collectively "Plaintiffs") and 68-444 Perez Drive, Inc. dba Showgirls
                       ("Showgirls") and Abdul Wahab Shawkat (collectively "Defendants"). Katrina
                       Harris is a Plaintiff party to this Agreement as well for the purpose of resolving her
                       claim for attorney's fees and costs in her separate matter pending in the American
                       Arbitration Association. The term "Party" or "Parties" as used herein shall refer to
                       Plaintiffs and Defendants, as may be appropriate.
                               1.      Recitals.

                               This Settlement Agreement is made with reference to the following facts:

                               (a)     Plaintiffs are former exotic dancers at Showgirls.

                              (b)    On November 14, 2019, Katrina Harris filed a Collective Action
                       Complaint in the United States District Court, Central District (5:19-cv-02184), for
                       I. Failure to Pay Minimum Wage, 29 U.S.C. section 206, 2. Failure to Pay
                       Overtime Wages, 20 U.S.C. section 207, 3. Unlawful Taking of Tips, 29 U.S.C.
                       section 203, and 4. Conversion, Cal. Civ. Code section 3336.

                             (c)     In 2021, Marlene Silva, Mikayla Bellamy and Chellsee Lloyd filed a
                       Collective Action Complaint in the United States District Court, Central District (5:21-
                       cv-00397).

                              (d)     The Harris and Silva matters were thereafter consolidated. (Hereinafter
                       both shall be referred to as the "Actions".)

                             (e)    The only Plaintiffs remaining in the Harris and Silva matters are Rebecca
                       Anspach, Marissa Duran, Akilah Hammond, Kimberly Ann Hoyer, Mandy Johnson,
                       Shanon Nuckols, Vanessa Ruiz, Andjela Suka, Neli Vasquez, Marlene Silva,
                       Mikayla Bellamy, and Chelsee Lloyd. This settlement is separate from the claims of
                       Katrina Harris' individual claims (except attorney's fees), Karli Beckett, Antonia
                       Crane, Alexandra Mantikas and Rylee Ferguson.

                             (f)      On November 30, 2021, the Parties participated in an all-day mediation
                       with Mediator Natasha Chesler to resolve the remaining Plaintiffs in the Harris and
                       Silva matters. Ms. Chesler was selected from the USDC Federal Mediator panel in
                       response to a Court order to submit to mediation.

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                               (g)     The Parties now wish to resolve any potential claims made by Plaintiffs
                        in the Harris and Silva matters in exchange for the releases stated below.
                             (h)       This settlement is intended to entirely extinguish the Harris and Silva
                       matters in their entirety and no further opt-ins will be considered.

                             (1)      In 2021, Katrina Harris and Defendants settled her Arbitration claim
                       pending in the American Arbitration Association (01-20-0003-8065-24G). The only
                       remaining item was Harris' motion for an award of attorney's fees and costs which is
                       scheduled for hearing on December 30, 2021. Through this settlement, Harris has
                       agreed to resolve her claim for attorney's fees and costs.

                             (j)      The enforceability of this Agreement is contingent upon the Court's
                       approval of this settlement.
                               2.      Non-admission of Wrongdoing.

                              The parties agree that neither this Settlement Agreement nor the furnishings
                       of the consideration for this Settlement Agreement shall be deemed or construed at
                       any time for any purpose as an admission by the Released Parties of wrongdoing or
                       evidence of any liability or unlawful conduct of any kind.
                               3.      Consideration/Indemnification for Tax Consequences.

                               (a)      In consideration for signing this Settlement Agreement and
                       complying with its terms, within sixty (60) days of approval by the Harris and Silva
                       court of this settlement and receipt of a W-9 from counsel for Plaintiffs, Defendants
                       will pay one million one hundred fifty thousand dollars ($1,150,000) in full and
                       final settlement of the Actions. The sum shall be paid to the "Carpenter & Zuckerman
                       Client Tmst Account" and shall be reported to Carpenter & Zuckerman and the participating
                       Plaintiffs via 1099. Fifty thousand dollars ($50,000) of the $1,150,000 is considered the agreed
                       upon attorney's fee and cost award in the Harris vs. 68-444 Arbitration pending in the American
                       Arbitration Association (01-20-0003-8065-24G).

                              (b)        The settlement payment identified in section 3(a) above is contingent upon the
                       Harris and Silva court's approval of this settlement. Should this settlement not be approved by
                       the Court, this settlement agreement shall be void.
                               4.      Motion for Approval of Settlement and Dismissal.

                              (a)     After the full execution of this Agreement, Plaintiffs shall prepare and
                       file a motion for approval of this settlement in both the Harris and Silva matters.

                             (b)      If the settlement is approved, Plaintiffs shall file dismissals with
                       prejudice of the Harris, and Silva actions upon receipt of the one million one
                       hundred fifty thousand dollars ($1,150,000).

                             (c)    After approval of the settlement, Plaintiffs shall file a dismissal of the
                       Harris vs. 68-444 et al individual matter pending in the American Arbitration

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                       Association identified as case number 01-20-0003-8065-2-JO upon receipt of the
                       fifty thousand dollars ($50,000) agreed as attorney's fees in Harris vs. 68-444
                       Arbitration pending in the American Arbitration Association (01-20-0003-8065-2-.1G).
                               5.      General Release of Claims.

                              (a)     Plaintiffs, individually and on behalf of their heirs, executors,
                       administrators, representatives, attorneys, successors and assigns knowingly and
                       voluntarily release and forever discharge 68-444 Perez, Inc. dba Showgirls
                       including Showgirls, its parent corporations, affiliates, subsidiaries, divisions,
                       predecessors, insurers, successors and assigns, and their current and former
                       employees, attorneys, officers, directors and agents thereof, both individually and in
                       their business capacities, and their employee benefit plans and programs and the
                       trustees, administrators, fiduciaries and insurers of such plans and programs.
                       Plaintiffs also individually and on behalf of Plaintiffs heirs, executors,
                       administrators, representatives, attorneys, successors and assigns knowingly and
                       voluntarily release and forever discharge Abdul Wahab Shawkat and Sahar Shawkat
                       and their heirs, executors, administrators, representatives, attorneys, spouses, and
                       assigns (Collectively, all of the above entities shall be referred to as the "Released
                       Parties"). Upon approval by the Court of this settlement, the Released Parties shall
                       be released to the fullest extent permitted by law, of and from any and all claims,
                       known and unknown, asserted and unasserted, which Plaintiffs have or may have
                       against the Released Parties as of the date of execution of this Settlement
                       Agreement.

                               6.      Waiver of California Civil Code Section 1542.

                              To affect a full and complete General Release as described above, Plaintiffs
                       expressly waive and relinquish all rights and benefits of Section 1542 of the Civil Code
                       of the State of California and does so understanding and acknowledging the significance
                       and consequence of specifically waiving Section 1542. Section 1542 of the Civil Code
                       of the State of California states as follows:

                              A general release does not extend to claims that the creditor or releasing party
                       does not know or suspect to exist in his or her favor at the time of executing the release,
                       and that if known by him or her would have materially affected his or her settlement
                       with the debtor or released party.

                              Thus, notwithstanding the provisions of Section 1542, and to implement a full
                       and complete release and discharge of the Released Parties, Plaintiffs expressly
                       acknowledge this Settlement Agreement is intended to include in its effect, without
                       limitation, all claims Plaintiffs do not know or suspect to exist in Plaintiffs' favor at the
                       time of signing this Settlement Agreement, and that this Settlement Agreement
                       contemplates the extinguishment of any such claims. Plaintiffs warrant they have read
                       this Settlement Agreement, including this waiver of California Civil Code Section 1542,
                       and that Plaintiffs have consulted with or had the opportunity to consult with Counsel of
                       Plaintiffs' choosing about this Settlement Agreement and specifically about the wavier

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                       of Section 1542, and that Plaintiffs understand this Settlement Agreement and the
                       Section 1542 waiver, and so Plaintiffs freely and knowingly enter into this Settlement
                       Agreement. Plaintiffs further acknowledge that Plaintiffs later may discover facts
                       different from or in addition to those Plaintiffs now know or believe to be true regarding
                       the matters released or described in this Settlement Agreement, and even so Plaintiffs
                       agree that the releases and agreements contained in this Settlement Agreement shall
                       remain effective in all respects notwithstanding any later discovery of any different or
                       additional facts. Plaintiffs expressly assume any and all risks of any mistake in
                       connection with the true facts involved in the matters, disputes or controversies released
                       or described in this Settlement Agreement or with regard to any facts now unknown to
                       Plaintiffs relating thereto.

                               7.      Enforceability.

                              (a)      As part of this agreement, the Parties will enter into a Stipulated
                       Judgments that may be executed and submitted to the U.S. District Court for entry for
                       failure to make payment consistent with this agreement. The Court will maintain
                       jurisdiction of this matter to effectuate entry and execution of the Stipulated Judgments.
                       In the event of a breach, Plaintiffs will be entitled to unilaterally and without notice
                       apply for reinstatement of their claims in the Federal Action to the Court's active
                       calendar for entry of judgment against defendants 68-444 Perez, Inc. and Abdul Wahab
                       Shawkat. Plaintiffs shall submit the following to the Court: (1) declaration(s) attesting
                       to the breach; (2) the interest accrued; (3) attorneys' fees incurred and payments made, if
                       any; and (4) the resulting amount to the Stipulated Judgments. Defendants 68-444 Perez,
                       Inc. and Abdul Wahab Shawkat are each jointly and severally liable for settlement
                       obligations and pursuant to the Stipulated Judgments.

                               8.      Acknowledgments and Affirmations.

                              (a)    Plaintiffs affirm that they have not filed or caused to be filed any
                       claim, complaint or action against any of the Released Parties in any forum or form,
                       other that the Action that the Plaintiffs presently are not a party to any claim,
                       complaint or action against any of the Released Parties in any forum or form, other
                       than the Action.

                             (b)      The Parties acknowledge that this Settlement Agreement does limit
                       any Party's right, where applicable, to file or participate in any investigative
                       proceeding of any federal, state or local government agency. To the extent permitted
                       by law, Plaintiffs agree that is such an administrative charge is made, Plaintiffs shall
                       not be entitled to recover any individual monetary relief of other individual
                       remedies.
                               8.      Confidentiality.

                              (a)    With the exception of the requirements to obtain approval of this
                       settlement, Plaintiffs will not post on any type of social media any details about the
                       settlement and Plaintiffs' counsel will not disclose the name of the case in any

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                       advertising or website posting, at any time unless otherwise compelled by operation
                       ❑f law.
                               9.      No Transfer/Assignment of clRiurns.

                              Plaintiffs warrant and represent that they have not assigned or transferred or
                       purported to assign or transfer to any person or entity all or any part of or any
                       interest in any claim released under this Settlement Agreement. Plaintiffs and
                       Plaintiffs' counsel agree that they are solely responsible for the satisfaction of any
                       assignment or lien to any lien holder and will indemnify and hold the Released
                       Parties harmless against any liens, damages, penalties, fines, fees, assessments,
                       taxes or attorneys' fees that may be imposed against or incurred by any of the
                       Released Parties as a result of the actions of any lien holder or any lien claimant or
                       any taxing authority or any court in relation to any interest which any third party
                       may have in any claim which Plaintiffs are releasing under this Settlement
                       Agreement or any interest in any ❑f the proceeds paid to Plaintiffs or Plaintiffs'
                       Counsel under this Settlement Agreement.
                               10.     Liens and Attorneys' Fees/Indemnitication.

                              (a)     Plaintiffs acknowledges Plaintiffs are solely responsible for any liens
                       made in connection with any services performed on Plaintiffs' behalf by any
                       attorney, consultants, expert witnesses or healthcare providers. Each Party solely is
                       responsible for any fees and costs he, she or it has incurred including, but not
                       limited to, fees for attorneys, consultants and expert witnesses. Despite the fact a
                       portion of the gross sum set forth in Section 3(1) above is being paid to Plaintiffs'
                       Counsel, Plaintiffs acknowledge that none of the Released Parties are responsible
                       for the payment of any fees incurred on behalf of Plaintiffs in connection with the
                       prosecution of the Action.

                              (b)      Plaintiffs acknowledge and agree that Plaintiffs will indemnify the
                       Released Parties for any and all costs any of them incurred as a result of any claims
                       made by any attorneys, consultants, expert witnesses, healthcare providers or other
                       third parties to recover monies form the amounts payable to Plaintiffs or Plaintiffs'
                       Counsel under this Settlement Agreement.

                             (c)      If a party moves to enforce this Agreement, the prevailing party shall
                       be entitled to recover reasonable fees and/or costs incurred. Other than this
                       provision, all parties are to bear their own fees and costs.

                              11.      Qoverning Law and Interpretation.

                             (a)     This Settlement Agreement shall be governed and conformed in
                       accordance with the laws of the State of California provided, however, that parol
                       evidence shall not be admissible to alter, vary or supplement the term of this
                       Settlement Agreement. Should any provision of this Settlement Agreement be
                       declared illegal or unenforceable, excluding the General Release language, such
                       provision immediately shall be come null and void, leaving the remainder of this

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                       Settlement Agreement in full force and effect.
                               12.     Amendment

                             This Settlement Agreement may not be modified, altered or changed except
                       in writing and signed by both Parties wherein specific reference is made to this
                       Settlement Agreement.
                               13.     Miscellaneous.

                              (a)     This Settlement Agreement may be signed in counterparts, each of
                       which shall be deemed an original, but all of which, taken together shall constitute
                       the same instrument. A signature made on a faxed or electronically mailed copy of
                       the Settlement Agreement or a signature transmitted by facsimile or electronic mail
                       shall have the same effect as the original signature.

                             (b)     The section headings used in this Settlement Agreement are intended
                       solely for convenience or reference and shall not in any manner amplify, limit,
                       modify or otherwise be used in the interpretation of any of the provisions hereof.

                              (c)     This Settlement Agreement was the result of negotiations between the
                       Parties and their respective counsel. In the event of vagueness, ambiguity or
                       uncertainty, this Settlement Agreement shall not be construed against the Party
                       preparing it but shall be construed as if both Parties prepared it jointly,

                              (d)     If Plaintiffs or Defendants fail to enforce this Settlement Agreement
                       or to insist on performance of any term, that failure does not mean a waiver of that
                       term or of the Settlement Agreement. The Settlement Agreement remains in full
                       force and effect anyway.
                              14.      Tntire Agreement.

                              This Settlement Agreement sets forth the entire agreement between the
                       Parties hereto, and fully supersedes any prior agreements or understandings between
                       Parties hereto. Plaintiffs acknowledges that Plaintiffs have not relied on any
                       representations, promises or agreements of any kind made to Plaintiffs in connection
                       with Plaintiffs' decision to accept this Settlement Agreement, except for those set
                       forth in this Settlement Agreement.

                              Plaintiffs' counsel has power of attorney to sign this agreement for all
                       Plaintiffs. It is understood that individual settlement agreements for the individual
                       Plaintiffs will be drafted and signed pursuant to law by individual Plaintiffs or their
                       representatives that shall include allocations of attorneys' fees, costs, and recovery
                       to each individual Plaintiff. The individual settlement agreements will include
                       Stipulated Judgments pertaining to each individual Plaintiff. Per the Fair Labor
                       Standards Act, the individual settlement agreements will be submitted to the Court
                       for approval.



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                             IN WITNESS WHEREOF, the parties hereto knowingly and voluntarily execute
                      this Settlement Agreement as of the dates set forth below.

                              Executed on 11-3 0 , 2021


                                                                           hn P. Kristensen on behalf of Plaintiffs
                                            11/30/2021
                              Executed on              , 2021

                                                                      68-444 P1)11iVriiic. dba Showgirls
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                                                                      By:          Abdul "Tony" Shawkat


                                            11/30/2021
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                                                                      Abdul Wahab Shawkat




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